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 2                                     UNITED STATES DISTRICT COURT
 3                                         DISTRICT OF NEVADA
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 6   UNITED STATES OF AMERICA,
 7                        Plaintiff,                      2:12-cr-00463-JCM-VCF
 8   vs.                                                  ORDER
 9   FREDERICK VERNON WILLIAMS, et al.,

10                        Defendants.

11

12           Before the Court is Defendant’s Motion to Re-Open Bail. (#127).
13           A. Background
14           Defendant made his initial appearance and arraignment and plea on Decem ber 13, 2012 and
15   Federal Public Defender was appointed as counsel        of record. (#18). Defendant was released on
16   personal recognizance b ond with co nditions. D efendant pleaded not gu ilty to Counts 1, 2 and 3.    Id.
17   Jury trial was scheduled for February 11, 2013. Id. Jury trial was continued to April 22, 2013. (#31).
18   On January 24, 2013, Defendant was arres ted and appeared for initial appearance regarding rev ocation
19   of pretrial release on January 25, 2013. (#37). De fendant was detained and rem anded to custody. Id.
20   Revocation of Pretrial Release was held on February 20, 2013. (#41). Defendant’s Pretrial Release was
21   revoked and Defendant was rem anded to custody. Id. On April 18, 2013, Defenda nt was arraigned on
22   Indictment and pleaded not guilty to Counts 1-3, 8-23. (#59). Jury trial was set for June 3, 2013.    Id.
23   Jury trial was continued to August 19, 2013. (#78). Trial was continued to October 21, 2013. (#104).
24   On October 9, 2013, De fendant filed a Motion to Dism iss Counsel and Motion to Re-Open Ba il. (#’s
25   126 & 127). On October 25, 2013, the Government filed a Response to Defendant’s Motion to Re-Open
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 1   Bail. (#134). Defendant’s reply in support of      the Motion to Reopen Bail was filed on November 1,

 2   2013. (#136). Trial was continued December 2, 2013. (#137). On November 5, 2013, the Court held a

 3   hearing on the Motion to Dism       iss Counsel. ( #135). On Nove mber 6, 2013, the Court denied

 4   Defendant’s Motion to Dism iss Counsel (#141), however, Defendant m ay renew his m otion to dismiss

 5   counsel or invoke his Sixth Amendment right to self-representation by November 12, 2013. (#141).

 6          B. Motion

 7          Defendant filed the instant motion on his own behalf.

 8          C. Discussion

 9          Pursuant to Local Rule IA 10-6( a), “[a] party who has appeared by attorney cannot while so

10   represented appear or act in the case. An attorney who has appeared for a party shall be recognized by

11   the Court and all the parties as having control of the client’s case.”

12          Defendant’s Motion to Dism iss Counsel (#141) was denied on Nove mber 6, 2013. To date,

13   Defendant has not filed a new Moti on to Dismiss Counsel or invoke hi s Sixth Amendment right to self-

14   representation. The Federa l Public Defender is still Defendant’s counsel of record (#18). Defendant

15   may not file motions on his own behalf. See Local Rule IA 10-6(a). The motion filed by Defendant as

16   stated above is deemed improper and stricken.

17          Accordingly,

18          IT IS ORDERED that Defendant’s Motion to Reopen Bail (#127) is hereby STRICKEN.

19          DATED this 15th day of November, 2013.
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20                                                                  CAM FERENBACH
                 UNITED                                                     STATES MAGISTRATE JUDGE
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